20-12345-mg       Doc 2510   Filed 09/22/23 Entered 09/22/23 14:49:49 Main Document
                                         Pg 1 of 12
             Hearing Date and Time: September 26, 2023, at 3:00 P.M. (Prevailing Eastern Time)


PACHULSKI STANG ZIEHL & JONES LLP
James I. Stang, Esq. (admitted pro hac vice)
Iain A. W. Nasatir, Esq.
Karen B. Dine, Esq.
Brittany M. Michael, Esq.
780 Third Avenue, 36th Floor
New York, New York 10017
Telephone:     (212) 561-7700
Facsimile:     (212) 561-7777
Email:         jstang@pszjlaw.com
               inasatir@pszjlaw.com
               kdine@pszjlaw.com
               bmichael@pszjlaw.com
and

BURNS BAIR LLP
Timothy W. Burns, Esq. (admitted pro hac vice)
Jesse J. Bair, Esq. (admitted pro hac vice)
10 E. Doty St., Suite 600
Madison, WI 53703-3392
Telephone: (608) 286-2808
Email: tburns@burnsbair.com
Email: jbair@burnsbair.com
Counsel and Special Insurance Counsel for the Official Committee
of Unsecured Creditors of The Roman Catholic Diocese
of Rockville Centre, New York

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


    In re:
                                                                    Chapter 11
    THE ROMAN CATHOLIC DIOCESE OF
    ROCKVILLE CENTRE, NEW YORK,1                                    Case No. 20-12345 (MG)

                                  Debtor.




1
  The Debtor in this chapter 11 case is The Roman Catholic Diocese of Rockville Centre, New York, the
last four digits of its federal tax identification number are 7437, and its mailing address is P.O. Box 9023,
Rockville Centre, NY 11571-9023.
20-12345-mg      Doc 2510         Filed 09/22/23 Entered 09/22/23 14:49:49         Main Document
                                              Pg 2 of 12



      THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS’ REPLY IN
    SUPPORT OF MOTION FOR AN ORDER GRANTING LEAVE, STANDING, AND
     AUTHORITY TO PROSECUTE A CAUSE OF ACTION ON BEHALF OF THE
                       DEBTOR AND ITS ESTATE

       The Official Committee of Unsecured Creditors (the “Committee”) of The Roman Catholic

Diocese of Rockville Centre, New York (the “Diocese” or the “Debtor”), by and through its

undersigned counsel, hereby replies (the “Reply”) in support of its Motion for entry of an order

authorizing the Committee to prosecute a claim and/or cause of action on behalf of the Debtor and

its estate (the “Motion”) against the Allianz Insurers and LMI ( “LMI” and the “Allianz Insurers”

are collectively referred to herein as the “Insurers”). In support of this Reply, the Committee

respectfully states as follows:

                                   PRELIMINARY STATEMENT

       1.      Through its Motion, the Committee seeks to protect the interests of its constituents,

the survivors of childhood sexual abuse, from the pitfalls that have occurred in other diocesan

bankruptcies when a diocese and certain insurers have entered into settlements without committee

support.

       2.      In their Objections, both the Debtor and the Insurers mischaracterize the

Committee’s Motion. The Committee does not seek to prevent other parties from “talking,”

(Debtor Objection at 1–2), or otherwise seek to “dictat[e] which parties can mediate with each

other and what topics they can discuss during the mediation.” (Insurer Objection at 2). Far from it.

The Diocese, Insurers, and Committee should all continue negotiating. What the Committee does

request, however, is that the Diocese and Insurers obtain Committee consent before entering into

any settlement agreement.

       3.      The Committee’s concern isn’t hypothetical or speculative. The Insurers have

entered into non-consensual insurance settlements before—and they won’t give the Committee



                                             1
20-12345-mg        Doc 2510        Filed 09/22/23 Entered 09/22/23 14:49:49                   Main Document
                                               Pg 3 of 12



any assurances that they won’t do so again in this case. Such assurances, of course, would obviate

the need for the Committee’s Motion.

        4.       Nor is it a sufficient safeguard, as the Debtor contends, for the Committee to merely

object to an insurance settlement as part of the 9019 process after it has been memorialized.

(Debtor Objection at 3). The harm is already done at that point. In Rochester, the debtor/insurer

settlements were never approved by the Court, yet CNA (the lone non-settling insurer), continues

to argue that the diocese’s purported breach of the earlier settlement agreements creates a “massive

administrative claim” against the estate. (Rochester Bankruptcy Case, Doc. No. 1896 at 3). Indeed,

in its proposed Plan of Reorganization, part of the value CNA contends it is contributing is the

release of its administrative claim. (Id., Doc. No. 2214 at 28). Likewise, in Camden, the insurers

also continue to pursue their purported administrative claims based on an alleged breach of an

earlier debtor/insurer settlement agreement. (See Camden Bankruptcy Case, Doc No. 3336 at 45–

46). The mere ability of insurers to raise arguments based on alleged breaches of non-consensual,

unapproved insurance settlements frustrates the ability of committees to maximize insurance

recoveries on behalf of the sexual abuse survivors.2

        5.       The Committee is perfectly capable of settling with the Insurers, if the Insurers are

willing to contribute a reasonable sum. But, in order for that to be possible in this case, it is essential

that Committee approval be sought before any insurance deal is reached.




2
  For reasons similar to those stated earlier, the Committee does not dispute that the Debtor has the authority
to negotiate and potentially settle with the Insurers if such a settlement is in the best interests of the estate.
(Debtor Objection at 2-3). But, such a settlement will never be in the best interests of the estate if the
survivor constituency does not support it because any Plan incorporating third-party releases will not be
confirmable if it does not have overwhelming survivor support and the alleged breach of such an agreement
could give rise to potential damages claims against the estate. Again, the Committee is not seeking to
prohibit the Diocese from negotiating with the Insurers. It simply seeks confirmation that the Debtor and
the Insurers will not finalize any settlement without Committee approval.


                                                   2
20-12345-mg     Doc 2510      Filed 09/22/23 Entered 09/22/23 14:49:49           Main Document
                                          Pg 4 of 12



       6.      As explained herein, and for the reasons outlined in the Committee’s Motion,

neither of the Objections has merit, and the Court should grant the Committee leave to commence

and prosecute the Cause of Action on behalf of the Debtor’s estate.

                                         ARGUMENT

I. The Derivative Claim is Colorable

   A. The Committee’s Motion Does Not Undermine the Mediation or Otherwise Invade the
      Mediation Privilege

       7.      The Insurers devote six pages of their Objection to describing how the Committee’s

Motion purportedly “invades the mediation privilege and interferes with the mediation process.”

(Insurer Objection at 8–14). The Committee’s Motion does no such thing, and the Insurers’

“undermine the mediation” argument is a strawman.

       8.      As noted above, the Committee does not seek to block discussions or to compel

disclosure of what discussions are taking place. The Committee is simply seeking to stop the

Insurers from doing what insurers have done in at least two other recent diocesan bankruptcies—

i.e., entering a deal without the Committee’s consent that harms the estate by giving the insurers

arguments to scuttle any eventual debtor/committee Plan in a way that they do not currently have.

       9.      This Court has explained that any Plan incorporating third-party releases would

“need to receive overwhelming support from Creditors.” (July 18, 2023 Hearing Tr. 9:7–10). Every

diocesan Plan the Committee is aware of has incorporated third-party releases—including the

Diocese’s proposed Plan in this case. Any insurer-diocese agreement that incorporates third-party

releases is destined to fail if it doesn’t have survivor support. The Insurers are aware of the

requirement for “overwhelming support” of the survivors.

       10.     Entering into an agreement that does not have “overwhelming support” of the

survivors, despite the requirement that any Plan incorporating third-party releases have such



                                            3
20-12345-mg       Doc 2510       Filed 09/22/23 Entered 09/22/23 14:49:49               Main Document
                                             Pg 5 of 12



support, is, itself, deceptive and misleading conduct on the part of the Insurers under New York

General Business Law Section 349 (“Section 349”) because they are entering into an agreement

that they know cannot be approved.

        11.     In other words, the agreement purports to resolve liabilities, but it will end up not

doing so unless the survivors approve it. If they don’t, the agreement is a nullity, but unfortunately,

it is an exploding nullity that actively harms the estate and the sexual abuse survivors.

        12.     Because entering into such a non-consensual settlement is, standing alone,

misleading and deceptive under Section 349, the Committee does not need to rely on any mediation

communications or other conduct to state its claim. The Insurers’ mediation-related arguments

should therefore be rejected.

    B. The Proposed Cause of Action is Ripe

        13.     The Insurers also assert that the Committee’s Cause of Action is not ripe, (Insurer

Objection at 14–15), but that position is mistaken.

        14.     Courts, of course, have the power to adjudicate claims, even though future harm

may be uncertain. Make the Rd. New York v. Pompeo, 475 F. Supp. 3d 232, 268 (S.D.N.Y. 2020)

(“Plaintiffs, however, need only show ‘a threat of irreparable harm, not that irreparable harm

already ha[s] occurred.’”) (emphasis in original) (internal citations omitted); Roman Cath.

Archdiocese of New York v. Sebelius, 907 F. Supp. 2d 310, 329 (E.D.N.Y. 2012) (“‘[T]he present

impact of a future, though uncertain harm may establish injury for standing purposes.’”) (internal

citations omitted);3 Carey v. Klutznick, 637 F.2d 834, 837 (2d Cir. 1980) (“Although the

irreparable injury that the appellees sought to avert was a ‘possibility,’ every irreparable injury is

merely a possibility until it is actual and can no longer be averted.”).


3
 As described in the Archdiocese of New York v. Sebelius case, “[r]ipeness analysis is similar to standing
analysis.” 907 F. Supp. 2d at 333.


                                                4
20-12345-mg        Doc 2510        Filed 09/22/23 Entered 09/22/23 14:49:49                    Main Document
                                               Pg 6 of 12



        15.       Here, insurers have already entered into debtor/insurer agreements in the Rochester

and Camden cases that have harmed those estates and hindered the ability to confirm consensual,

debtor/committee Plans. The Committee has asked the Insurers to give their assurances that they

will not enter into similar agreements here. To date, however, the Insurers have declined to provide

that assurance.

        16.       Given this past conduct—and the Insurers’ refusal to confirm that they will not

enter into similar agreements here—the Committee needs to be able to protect the estate, and,

ultimately, the sexual abuse survivors, from the same harm that has been inflicted on other estates

and other survivors in different bankruptcies. The Committee cannot simply stand by and allow

that harm to occur. The Insurers’ ripeness argument should therefore be denied. Cf. Walker v. Azar,

480 F. Supp. 3d 417, 426 (E.D.N.Y. 2020) (“‘[P]ast wrongs are evidence bearing on whether there

is a real and immediate threat of repeated injury.’”) (internal citations omitted).4

II. The Proposed Complaint Adequately Pleads a Claim under Section 349

        17.       To state a claim under Section 349, a plaintiff must allege that the challenged act

or conduct is (1) consumer-oriented; (2) materially misleading; and (3) that plaintiff suffered injury

as a result of the allegedly deceptive act or practice. Nick’s Garage, Inc. v. Progressive Casualty

Ins. Co., 875 F.3d 107, 124 (2d Cir. 2017). The Insurers contend that the proposed Complaint fails

to meet the first and third prongs. The Insurers’ arguments, however, miss the mark.


4
  See also id. (“Plaintiffs have experienced discrimination from healthcare providers in the past, and their
medical conditions will require them either to interact with at least some of those same medical providers
in the future, or to delay or forego treatment. The Court concludes that this ‘Catch-22’ is sufficiently
concrete to constitute an injury in fact.”); see also Miller v. Syracuse Univ., No. 5:21-cv-1073, 2023 WL
2572937, at *11 (N.D.N.Y. Mar. 20, 2023) (“[T]he standing analysis for Plaintiff’s requested injunction—
which seeks to prevent future data breaches—depends on whether Plaintiff has sufficiently alleged that he
is ‘realistically threatened by a repetition of’ another data breach of Defendant’s systems . . . . Given the[]
allegations, the Court finds that Plaintiff has sufficiently alleged that he is realistically threatened by another
data breach of Defendant’s systems, and thus has standing to pursue his requested injunctive relief.”).



                                                    5
20-12345-mg      Doc 2510      Filed 09/22/23 Entered 09/22/23 14:49:49             Main Document
                                           Pg 7 of 12



       18.     First, the Complaint alleges “consumer-oriented” conduct. Although the Insurers

attempt to paint the Cause of Action as a “private contract dispute,” (Insurer Objection at 16), the

allegations of the proposed Complaint tell a different story:

       The Insurers’ deceptive acts and practices are consumer oriented. The Insurers’
       conduct affects the interests of the Diocese and the many hundreds of Survivors,
       in addition to survivors of sexual abuse with CVA claims in other actions. The
       Insurers’ conduct also thwarts the considerable public interest in New York in fair
       resolution of the CVA claims.

       The Insurers’ conduct is also consumer oriented because the Insurers sold similar
       policies to other consumers, including other Dioceses, within the state of New
       York that insure CVA claims. The Insurers’ conduct has a broad impact on
       consumers at large, including other New York dioceses in bankruptcy and sexual
       abuse survivors in those bankruptcies.

       In addition, the Insurers’ conduct is consumer oriented because it is designed to
       thwart clearly articulated New York public policy designed to protect the intended
       beneficiaries of insurance policies sold throughout the state, including sexual abuse
       survivors.

Compl., ¶¶ 63–65 (emphasis added).

       19.     In addition, the Cause of Action impacts matters of considerable public interest in

New York, including whether entering into an insurance settlement without Committee approval

meets the standards for insurer conduct required by the New York State Department of Financial

Services (“DFS”) in its Circular No. 11. See Securitron Magnalock Corp. v. Schnabolk, 65 F.3d

256, 264 (2d Cir. 1995) (“It is clear that ‘the gravamen of the complaint must be consumer injury

or harm to the public interest.’ The critical question, then, is whether the matter affects the public

interest in New York, not whether the suit is brought by a consumer or a competitor.”) (emphasis

added) (internal citations omitted).

       20.     Although the Insurers contend that their actions fall “entirely in line” with the

Circular Letter’s recommendations for insurer conduct when handling CVA claims, (Insurer

Objection at 18), that is a factual question that speaks to whether their conduct is “deceptive”—an



                                              6
20-12345-mg       Doc 2510       Filed 09/22/23 Entered 09/22/23 14:49:49               Main Document
                                             Pg 8 of 12



issue the insurers have not challenged as part of their objection—not whether their conduct is

“consumer oriented.”

        21.     Simply put, whether an insurer can enter into such a settlement without Committee

approval is an issue that has a broad impact on consumers at large, including other New York

dioceses in bankruptcy and sexual abuse survivors in those bankruptcies. See Compl., ¶¶ 63–65.

The conduct alleged is thus “consumer-oriented” and the Committee has adequately pled the first

prong of a Section 349 claim.

        22.     Second, the Complaint adequately alleges an injury to the estate. As described

above in response to the Insurers’ “ripeness” argument, the Committee has alleged that (1) insurers

in other diocesan bankruptcies have entered into settlement agreements without committee

approval (Compl., ¶¶ 12, 48); (2) the debtor/insurer agreements have caused harm to the estate,

the committee, and the sexual abuse survivors in those cases (id., ¶¶ 12–13, 46, 48, 62); and (3)

the Insurers will not provide any assurances that such a settlement agreement won’t be entered in

this case as well (id., ¶ 10).

        23.     These allegations establish at least the “threat of irreparable harm,” Make the Rd.

New York, 475 F. Supp. 3d at 268 (emphasis in original) (internal citations omitted), which is

sufficient to justify the injunctive relief sought in the Complaint. The Complaint therefore

adequately pleads the third prong of a Section 349 claim and the Insures’ failure to state a claim

argument should be rejected.5


5
  The Insurers also argue that no private right of action exists under New York Insurance Law Section 2601.
(Insurer Objection at 19). The Complaint, however, does not assert a claim under Section 2601. Instead,
the Complaint references Section 2601 as providing further support for the proposed Section 349 claim.
New York courts have recognized that, “[a]s a general matter, a violation of section 2601 may constitute a
violation of section 349.” Quincy Mut. Fire Ins. Co. v. New York Cent. Mut. Fire Ins. Co., 89 F. Supp. 3d
291, 314 (N.D.N.Y. 2014); see also Riordan v. Nationwide Mut. Fire Ins. Co., 756 F. Supp. 732, 739
(S.D.N.Y. 1990) (“[A] policy and practice of violating New York Insurance Law § 2601 and the rules



                                                7
20-12345-mg       Doc 2510        Filed 09/22/23 Entered 09/22/23 14:49:49                  Main Document
                                              Pg 9 of 12



III. The Rochester and Camden Cases Support the Relief Sought by the Committee

        24.      The Rochester and Camden cases demonstrate the very real harm that

debtor/insurer settlements can cause to an estate. The Insurers try to turn these cases on their head

by pointing to the fact that (1) certain insurers defeated (at least for now) confirmation of a

debtor/committee plan in Camden; and (2) that LMI and Interstate (but not CNA, the largest

insurer—who is sill vigorously objecting to Plan confirmation on the basis of the purportedly

breached insurance settlement) eventually reached a settlement in Rochester. (Insurer Objection at

21–22). But, these facts underscore the harm caused by debtor/insurer settlements—they don’t

minimize them.

        25.      First, in Camden, the insurers raised the very types of arguments in opposition to

Plan confirmation that the Committee seeks to prevent the Insurers from obtaining here; for

instance, the argument about purported administrative claims. See Camden Bankruptcy Case, Doc.

No. 3336 at 38–39 (“The Insurers further object to confirmation on the grounds that the Plan is not

feasible because the Debtor lacks the funding to pay the full amount of their potential

Administrative Claims[.]”).6 The fact that the court denied confirmation of the debtor/committee

plan only underscores the importance of the estate not giving the Insurers an opportunity to argue

that the Insurers have rights that they otherwise do not have.

        26.      Moreover, the Camden court did not whitewash the insurers’ conduct in that case.

Although it denied confirmation of the debtor/committee plan, the court also denied the insurer-




promulgated thereunder . . . , if proven, constitutes a ‘deceptive business practice’ sufficient to satisfy the
requirements of Section 349.”). The Insurers’ arguments about Section 2601 are therefore misplaced.
6
  See also id. at 42 (“The Administrative Claims are for an unspecific amount, but the Insurers argue the
claims total at least $2.4 million and could be as much as $123.5 million.”).



                                                  8
20-12345-mg        Doc 2510       Filed 09/22/23 Entered 09/22/23 14:49:49                   Main Document
                                             Pg 10 of 12



supported 9019 motion, (id., Doc. No. 3335 at 30), and expressed skepticism that the Insurers

would ultimately prevail on their administrative claims, (Id., Doc. No. 3336 at 43–44).7

        27.      In Rochester, the largest insurer, CNA, is vigorously objecting to confirmation of

the debtor/committee Plan—in large part based on the purported breach of the earlier

debtor/insurer settlement agreements.8 Although the committee, through much time and effort, did

eventually reach settlement with LMI and Interstate, the prior debtor/insurer settlements still

frustrate the committee’s and diocese’s ability to confirm a plan, in part based on rights CNA

claims it obtained from the earlier settlements.9

        28.      While the Committee and Insurers could quibble over minor details regarding those

cases, the upshot is clear—debtor/insurer settlement agreements pose great risk for the estate and

the Committee should be permitted to stop them here.




7
 Id. (“The Insurers argue that, because the Insurance Settlement contains no specific language about the
Debtor’s fiduciary obligations, the Debtor should be barred from fulfilling those obligations even if another
deal is proposed which would increase the value of the estate. Adopting such reasoning would essentially
permit a debtor to contract away its fiduciary obligations. As such, and without making any determination
as to the Insurers Adversary Claim at this time, this argument does not persuade the Court that the Plan is
not feasible.”).
8
  See, e.g., Rochester Bankruptcy Case, Doc. No. 1896 at 3–4 (“Debtor’s bait and switch with respect to
the Insurance Settlements is not a proper exercise of business judgment because, among other things, it
exposes Debtor and its estate to a massive administrative claim that must be paid in full, in cash, before any
plan that is compliant with the terms of the RSA could go into effect. The Insurers’ administrative claim
likely forecloses any finding of feasibility, a prerequisite to plan confirmation, and establishes that any plan
seeking to implement the RSA likely will not meet the good-faith requirement of Bankruptcy Code §
1129(a)(3), another reason any such plan could not be confirmed.”).
9
  Rochester Bankruptcy Case, Doc. No. 2196 at 3 (“Although the Diocese may have agreed with other
insurers to modify their previous settlement agreements, potentially making the Rule 9019 Motion moot as
to those insurers, those other parties’ agreements do not moot the motion as to Continental. Nor does
Continental’s forthcoming plan moot the Rule 9019 motion: while the Continental plan will constitute a
settlement offer that survivors can choose to accept if they wish, the plan will reserve all of Continental’s
rights to enforce its settlement agreement with the Diocese. This includes pursuing breach claims if the
Continental plan is not confirmed.”).




                                                  9
20-12345-mg        Doc 2510       Filed 09/22/23 Entered 09/22/23 14:49:49                    Main Document
                                             Pg 11 of 12



IV. The Debtor Unjustifiably Refused to Bring the Cause of Action

        29.      Lastly, the Insurers and Debtor argue that the Debtor did not unjustifiably refuse to

bring the claim because the Committee has not shown that the litigation would be a “sensible

expenditure of estate resources that will not impair reorganization.” (Debtor Objection at 4; see

also Insurer Objection at 23–25). That objection should be overruled.

        30.      First, the Insurers have no standing to raise the argument.10 Second, all the

Committee must do is provide “comfort” that their litigation is a sensible endeavor. Id.11 The

Committee has met that low bar here. As described above, the consequences of entering into a

debtor/insurer settlement are severe for the estate. Compared to the costs that would be incurred

to undo a debtor/insurer settlement (see generally discussion of Rochester and Camden cases), the

cost of the proposed litigation will almost certainly be magnitudes less.

        31.      That is especially true with this Motion because the Insurers and Debtor could moot

the need for the Motion at any time if they simply agreed not to enter into an insurance settlement

without Committee approval.

        32.      Based on the foregoing, the Court should enter an order granting the Committee

leave, standing, and authority to commence and prosecute the Cause of Action on behalf of the

Debtor’s estate.



10
        [T]he Court must be mindful of the purposes for its inquiry. It is not for the protection of
        defendants sued or to be sued by a committee on behalf of an estate, whose defenses can
        be fully and fairly considered in the plenary litigation to be prosecuted—just as they would
        if the defendants had been sued by a debtor (or a nondebtor) directly. Rather, the purpose
        of the bankruptcy court’s gatekeeper role is to protect the estate, to ensure that the litigation
        reasonably can be expected to be a sensible expenditure of estate resources, and will not
        impair reorganization.
In re Adelphia Commc'ns Corp., 330 B.R. 364, 386 (Bankr. S.D.N.Y. 2005).
11
   See also id. (“That means, as a practical matter, providing the Court with a predicate for concluding that
the claims will, if proven, provide a basis for recovery, and that the proposed litigation will not be a hopeless
fling.”).


                                                  10
20-12345-mg    Doc 2510      Filed 09/22/23 Entered 09/22/23 14:49:49       Main Document
                                        Pg 12 of 12



 Dated: September 22, 2023                PACHULSKI STANG ZIEHL & JONES LLP

                                           /s/ James I. Stang                         .




                                          James I. Stang, Esq.
                                          Iain A. W. Nasatir, Esq.
                                          Karen Dine, Esq.
                                          Brittany M. Michael, Esq.
                                          780 Third Avenue, 36th Floor
                                          New York, NY 10017-2024
                                          Telephone: 212/561-7700
                                          Facsimile: 212/561-7777
                                          jstang@pszjlaw.com
                                          inasatir@pszjlaw.com
                                          kdine@pszjlaw.com
                                          bmichael@pszjlaw.com

                                          Counsel for the Official Committee of Unsecured
                                          Creditors

                                          BURNS BAIR LLP

                                           /s/ Timothy W. Burns                           .




                                          Timothy W. Burns, Esq. (admitted pro hac vice)
                                          Jesse J. Bair, Esq. (admitted pro hac vice)
                                          10 E. Doty St., Suite 600
                                          Madison, WI 53703-3392
                                          Telephone: (608) 286-2808
                                          Email: tburns@burnsbair.com
                                          Email: jbair@burnsbair.com

                                          Special Insurance Counsel to the Official
                                          Committee of Unsecured Creditors




                                        11
